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                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

   RONALD GIT SUM AU,            )          CIVIL NO. 14-00271 SOM/BMK
                                 )
             Plaintiff,          )          ORDER GRANTING MOTION FOR
                                 )          PARTIAL DISMISSAL OF
        vs.                      )          COMPLAINT
                                 )
   THE ASSOCIATION OF APARTMENT )
   OWNERS OF THE ROYAL IOLANI,   )
   et al.                        )
                                 )
             Defendants.         )
   _____________________________ )

         ORDER GRANTING MOTION FOR PARTIAL DISMISSAL OF COMPLAINT

   I.         INTRODUCTION.

              Defendant R. Laree McGuire moves to dismiss Plaintiff

   Ronald Git Sum Au’s claim against her alleging a violation of

   chapter 480D of Hawaii Revised Statutes.        Because Count IV fails

   to state a chapter 480D claim against McGuire upon which relief

   can be granted, the court dismisses the portion of Count IV

   pertaining to that alleged violation by McGuire.

   II.        FACTUAL BACKGROUND.

              Plaintiff Ronald Git Sum Au is the fee owner of two

   units in the Royal Iolani Condominium in Honolulu, Hawaii.           ECF

   No. 1-1, PageID # 4.

              On April 25, 2014, Au filed a Complaint in state court

   against The Association of Apartment Owners of the Royal Iolani

   (the “AOAO”), Hawaiiana Management Company, Ltd. (“Hawaiiana”),

   and R. Laree McGuire (collectively, “Defendants”).         ECF No. 1-1.

   On June 10, 2014, McGuire removed the action to federal court
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   pursuant to 28 U.S.C. § 1441.      ECF No. 1.

              Among Au’s assertions of violations of federal and

   state law are allegations that McGuire violated chapter 480D of

   Hawaii Revised Statutes in connection with filing Notices of

   Default and Intention to Foreclose on January 16, 2014 and

   January 21, 2014, with the Office of the Assistant Registrar of

   the Land Court for the State of Hawaii (the “Land Court”) as an

   attorney for the AOAO.     ECF No. 1-1, PageID # 15.      Those

   documents state that Au was in default with respect to payment of

   maintenance fees and that he owed “other charges and attorneys’

   fees and costs unpaid to the Association.”        Id., PageID # 30-48.

              On June 10, 2014, McGuire filed a motion for partial

   dismissal of complaint, contending that Au’s claim for violation

   of chapter 480D fails to state a claim upon which relief can be

   granted because McGuire is not a “debt collector” under chapter

   480D.   ECF No. 2-1, PageID # 120.

   III.       STANDARD.

              Under Rule 12(b)(6) of the Federal Rules of Civil

   Procedure, the court’s review is generally limited to the

   contents of the complaint.      Sprewell v. Golden State Warriors,

   266 F.3d 979, 988 (9th Cir. 2001); Campanelli v. Bockrath, 100

   F.3d 1476, 1479 (9th Cir. 1996).        If matters outside the

   pleadings are considered, the Rule 12(b)(6) motion is treated as

   one for summary judgment.      See Keams v. Tempe Tech. Inst., Inc.,


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   110 F.3d 44, 46 (9th Cir. 1997); Anderson v. Angelone, 86 F.3d

   932, 934 (9th Cir. 1996).     Courts may “consider certain

   materials--documents attached to the complaint, documents

   incorporated by reference in the complaint, or matters of

   judicial notice--without converting the motion to dismiss into a

   motion for summary judgment.”      United States v. Ritchie, 342 F.3d

   903, 908 (9th Cir. 2003).     However, documents attached to Au’s

   memorandum in opposition to the motion that are not attached to

   the Complaint, incorporated by reference in his Complaint, or

   matters of judicial notice have not been considered in ruling on

   this motion.

              On a Rule 12(b)(6) motion to dismiss, all allegations

   of material fact are taken as true and construed in the light

   most favorable to the nonmoving party.        Fed’n of African Am.

   Contractors v. City of Oakland, 96 F.3d 1204, 1207 (9th Cir.

   1996).   However, conclusory allegations of law, unwarranted

   deductions of fact, and unreasonable inferences are insufficient

   to defeat a motion to dismiss.      Sprewell, 266 F.3d at 988; Syntex

   Corp. Sec. Litig., 95 F.3d 922, 926 (9th Cir. 1996).

   Additionally, the court need not accept as true allegations that

   contradict matters properly subject to judicial notice or

   allegations contradicting the exhibits attached to the complaint.

   Sprewell, 266 F.3d at 988.

              Dismissal under Rule 12(b)(6) may be based on either:


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   (1) lack of a cognizable legal theory, or (2) insufficient facts

   under a cognizable legal theory.        Balistreri v. Pacifica Police

   Dept., 901 F.2d 696, 699 (9th Cir. 1988) (citing Robertson v.

   Dean Witter Reynolds, Inc., 749 F.2d 530, 533-34 (9th Cir.

   1984)).

              “[T]o survive a Rule 12(b)(6) motion to dismiss,

   factual allegations must be enough to raise a right to relief

   above the speculative level, on the assumption that all the

   allegations in the complaint are true even if doubtful in fact.”

   Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (internal

   quotation marks omitted); accord Ashcroft v. Iqbal, 556 U.S. 662,

   678 (2009) (“[T]he pleading standard Rule 8 announces does not

   require ‘detailed factual allegations,’ but it demands more than

   an unadorned, the-defendant-unlawfully-harmed-me accusation”).

   “While a complaint attacked by a Rule 12(b)(6) motion to dismiss

   does not need detailed factual allegations, a plaintiff’s

   obligation to provide the ‘grounds’ of his ‘entitlement to

   relief’ requires more than labels and conclusions, and a

   formulaic recitation of the elements of a cause of action will

   not do.”   Twombly, 550 U.S. at 555.      The complaint must “state a

   claim to relief that is plausible on its face.”         Id. at 570.     “A

   claim has facial plausibility when the plaintiff pleads factual

   content that allows the court to draw the reasonable inference

   that the defendant is liable for the misconduct alleged.”           Iqbal,


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   556 U.S. at 677.

   IV.        ANALYSIS.

              Au alleges that McGuire violated section 480D-3(8) of

   Hawaii Revised Statutes by filing Notices of Default and

   Intention to Foreclose with respect to Au’s units in the Royal

   Iolani Condominium that contained false and misleading

   information.    ECF No. 1-1, PageID # 15.

              Section 480D-3(8) of Hawaii Revised Statutes prohibits

   debt collectors, while collecting a consumer debt, from

   “disclos[ing], publish[ing], or communicat[ing] any false and

   material information relating to the indebtedness.”         A “debt

   collector” is defined as “any person, who is not a collection

   agency regulated pursuant to chapter 443B, and who in the regular

   course of business collects or attempts to collect consumer debts

   owed or due or asserted to be owed or due to the collector.”

   Haw. Rev. Stat. § 480D-2 (emphasis added).

              McGuire was not acting as a “debt collector” under

   chapter 480D in filing the Notices of Default and Intention to

   Foreclose or in taking any related action.        Although McGuire was

   attempting to collect a debt, she asserted that the debt was owed

   to the AOAO, not to McGuire herself.       McGuire’s actions to

   collect the AOAO’s debt could not have violated section 480D-3,

   and Au fails to state a plausible claim for relief under chapter

   480D of Hawaii Revised Statutes.        See Baham v. Ass’n of Apartment


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   Owners of Opua Hale Patio Homes, Civ. No. 13-00669 HG-BMK, 2014

   WL 2761744, *28-29 (D. Haw. June 18, 2014) (dismissing claim

   against law firm for violation of chapter 480D of Hawaii Revised

   Statutes because debt was owed to AOAO, not to law firm).

              Au’s opposition memorandum fails to overcome this fatal

   defect in his chapter 480D claim.

              First, Au refers to issues of fact that preclude the

   granting of the motion.     He appears to be arguing that there is

   at least a question as to whether he may owe payment directly to

   McGuire for her fees, as opposed to owing the AOAO for fees

   charged by McGuire.     While the allegations in the Complaint

   vaguely refer to McGuire as seeking attorney’s fees, any

   suggestion that McGuire was attempting to collect her own debt

   directly from Au are implausible on their face.         See Twombly, 550

   U.S. at 570 (claim to relief must be “plausible on its face”).

   Indeed, that suggestion is contradicted by Exhibits B and C to

   Au’s Complaint, which refer to “[t]he delinquent amount of

   assessments, other charges, and attorneys’ fees and costs unpaid

   to the Association.” (Emphasis added).        The word “unpaid”

   presumably means “unpaid by Au” to the Association.         Similarly,

   Au himself quotes McGuire’s statement to him regarding “amounts

   due and owing to the Association.”       ECF No. 1-1, PageID # 9

   (emphasis added).    See Sprewell, 266 F.3d at 988 (court need not




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   accept as true allegations contradicting exhibits attached to

   complaint).

               Second, Au refers to the doctrine of respondeat

   superior, to tortious conduct, to overbilling, to an absence of

   evidence, to fraud, and to federal law.          None of these matters

   has anything to do with whether McGuire acted to collect her own

   debt from Au.

   V.          CONCLUSION.

               The court dismisses Count IV of Au’s Complaint with

   prejudice to the extent it asserts a claim against McGuire for

   violation of chapter 480D of Hawaii Revised Statutes.



               IT IS SO ORDERED.

               DATED: Honolulu, Hawaii, August 7, 2014.


                                       /s/ Susan Oki Mollway
                                       Susan Oki Mollway
                                       Chief United States District Judge




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